            Case 1:21-cv-00796-RP Document 40 Filed 09/28/21 Page 1 of 2



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

UNITED STATES OF AMERICA,                                 §
                                                          §
                 Plaintiff,                               §
                                                          §
v.                                                        §                     1:21-CV-796-RP
                                                          §
THE STATE OF TEXAS.,                                      §
                                                          §
                 Defendant.                               §

                                                    ORDER

        Before the Court are the Motion to Intervene by Erick Graham, Jeff Tuley, and Mistie Sharp

(collectively the “Texas Residents”), (Dkt. 28), the Motion to Intervene by Oscar Stilley (“Stilley”),

(Dkt. 31), and the United States’ Response, (Dkt. 38). The Texas Residents seek to intervene both as

of right, under Rule 24(a), and permissively, under Rule 24(b). (Dkt. 28, at 4, 10). Stilley seeks to

intervene as of right “under such terms and conditions as the Court finds just[,]” as well as any other

relief that the Court deems appropriate. Because Stilley is a pro se litigant, the Court will construe his

Motion to include a request for permissive intervention. 1 The United States opposes intervention as

of right under Rule 24(a), but takes no position on permissive intervention under Rule 24(b). (Dkt.

38, at 1). Both the Texas Residents and Stilley seek to participate in the preliminary injunction

hearing scheduled for October 1, 2021, (Dkt. 12). (Dkt. 28, at 5; Dkt. 31, at 4).

        On a timely motion, a court may permit anyone to intervene who has a claim or defense that

shares with the main action a common question of law or fact. Fed. R. Civ. P. 24(b)(1)(B).




1 See Grant v. Cuellar, 59 F.3d 524, 524 (5th Cir. 1995) (Courts “liberally construe briefs of pro se litigants and

apply less stringent standards to parties proceeding pro se than to parties represented by counsel . . . .”);
United States v. Fisher, 372 F. App’x 526, 528 (5th Cir. 2010) (citing United States v. Early, 27 F.3d 140, 141-42
(5th Cir. 1994)) (“[T]he nature of a motion must be determined according to its actual substance . . . .”);
Agueros v. Vargas, No. SA-07-CV-904-XR, 2008 WL 4179452, at *2 (W.D. Tex. Sept. 5, 2008) (same).

                                                         1
           Case 1:21-cv-00796-RP Document 40 Filed 09/28/21 Page 2 of 2



Permissive intervention “is wholly discretionary . . . even though there is a common question of law

or fact.” New Orleans Pub. Serv., Inc. v. United Gas Pipe Line Co., 732 F.2d 452, 470–71 (5th Cir. 1984).

        In light of the motions for permissive intervention being unopposed, and pursuant to Rule

24(b), the Court will grant the Texas Residents and Stilley’s requests for permissive intervention as

defendants. The Court makes no statement as to the requests for intervention as of right. The Court

will also allow the Texas Residents and Stilley to participate in the October 1, 2021 preliminary

injunction hearing. The Court notes that their participation is premised on their representations that

the State of Texas cannot adequately represent their interests, (Dkt. 28, at 7), and thus they will be

permitted to raise only those facts and arguments not already put forth by the parties.

        Accordingly, IT IS ORDERED that Erick Graham, Jeff Tuley, Mistie Sharp’s motion to

intervene, (Dkt. 28), and Oscar Stilley’s motions to intervene, (Dkt. 31), are GRANTED. An order

allotting time for the October 1, 2021 hearing will follow separately.

 SIGNED on September 28, 2021.


                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE




                                                    2
